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 4
     Attorney for Defendant
 5   ANDRE KOVACS
 6
                        IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                 EASTERN DISTRICT OF CALIFORNIA
 8
 9
10 UNITED STATES OF AMERICA,
                                                       Case No. 2:10-CR-00437
11                  Plaintiff,

12 v.
                                                       STIPULATION AND [PROPOSED] ORDER
13                                                     TO CONTINUE STATUS CONFERENCE
     ANDRE KOVACS, et al.
14
                    Defendant.
15
16
17
18                                             STIPULATION
19          Plaintiff, United States of America, by and through its counsel, Assistant United States
20   Attorney Jill Thomas, defendant, Tony Rosales, by and through his counsel, Dan Koukol, defendant,
21   Andrianna Cano, by and through her counsel, Mark Reichel, defendant, Jonathan Gonzalez, by and
22   through his counsel, Danny Brace, defendant, Michael Leonard Lovato, by and through his counsel,
23   John Manning, defendant, Derrick Noble, by and through his counsel, Tim Warriner, and defendant,
24   Andre Kovacs, by and through his counsel, Erin J. Radekin, agree and stipulate to vacate the date set
25   for status conference, February 27, 2012 at 9:30 a.m., and to continue the status conference until
26   April 2, 2012 at 9:30 a.m., in the courtroom of the Honorable William B. Shubb.
27          The reason for this request is that Ms. Radekin was just recently appointed to represent Mr.
28   Kovacs in this matter (on January 26, 2012) and has not yet reviewed all discovery. Further, all
     counsel need additional time for reviewing discovery, investigation, and other defense preparation
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 1   and/or plea negotiations. The Court is advised that Ms. Thomas and all defense counsel listed above
 2   concur with this request and have authorized Ms. Radekin to sign this stipulation on their behalf.
 3          The parties further agree and stipulate that the time period from the filing of this stipulation
 4   until April 2, 2012 should be excluded in computing time for commencement of trial under the
 5   Speedy Trial Act, based upon the interest of justice under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local
 6   Code T4, to allow continuity of counsel and to allow reasonable time necessary for effective defense
 7   preparation. It is further agreed and stipulated that the ends of justice served in granting the request
 8   outweigh the best interests of the public and the defendant in a speedy trial.
 9          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
10   IT IS SO STIPULATED
11   Dated: February 22, 2012                                 BENJAMIN WAGNER
                                                              United States Attorney
12
                                                       By:           /s/ Erin J. Radekin for
13                                                            JILL THOMAS
                                                              Assistant United States Attorney
14
15   Dated: February 22, 2012                                      /s/ Erin J. Radekin for
                                                              DAN KOUKOL
16                                                            Attorney for Defendant
                                                              TONY ROSALES
17
     Dated: February 22, 2012                                      /s/ Erin J. Radekin for
18                                                            MARK REICHEL
                                                              Attorney for Defendant
19                                                            ANDRIANNA CANO
20   Dated: February 22, 2012                                      /s/ Erin J. Radekin for
                                                              DANNY BRACE
21                                                            Attorney for Defendant
                                                              JONATHAN GONZALEZ
22
     Dated: February 22, 2012                                      /s/ Erin J. Radekin for
23                                                            JOHN MANNING
                                                              Attorney for Defendant
24                                                            MICHAEL LEONARD LOVATO
25   Dated: February 22, 2012                                      /s/ Erin J. Radekin for
                                                              TIM WARRINER
26                                                            Attorney for Defendant
                                                              DERRICK NOBLE
27   ///
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 1   Dated: February 22, 2012                                      /s/ Erin J. Radekin
                                                              ERIN J. RADEKIN
 2                                                            Attorney for Defendant
                                                              ANDRE KOVACS
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 4
                                                     ORDER
 5
            For the reasons set forth in the accompanying stipulation and declaration of counsel, the
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     status conference of February 27, 2012 at 9:30 a.m. is VACATED and the above-captioned matter is
 7
     set for status conference on April 2, 2012 at 9:30 a.m. The court finds excludable time in this
 8
     matter through April 2, 2012 under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4, to allow
 9
     continuity of counsel and to allow reasonable time necessary for effective defense preparation. For
10
     the reasons stipulated by the parties, the Court finds that the interest of justice served by granting the
11
     request outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C.
12
     3161(h)(7)(A), (h)(7)(B)(iv).
13
     IT IS SO ORDERED.
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     Dated: February 22, 2012
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